                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:03CR46

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                          ORDER
AMANDA JANE DURHAM,                 )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s pro se Motion for Transcripts, filed

November 18, 2005 [Document # 88].

       On September 2, 2004, Defendant pled guilty to the charges of conspiracy to possess with

intent to distribute cocaine, cocaine base, and methamphetamine, in violation of 21 U.S.C. §§

841, 846 (Count One), and using and carrying a firearm during and in relation to a drug

trafficking crime and aiding and abetting, in violation of 18 U.S.C. §§ 924, 2 (Count Five). On

February 7, 2005, this Court sentenced Defendant to 60 months imprisonment on Count One and

24 months imprisonment on Count Five, for a total of 84 months imprisonment. Judgment was

entered on March 17, 2005. Defendant did not file a notice of appeal.

       Defendant now asks the Court to provide her with a copy of her sentencing transcript and

a copy of the transcript from the inquiry into status of counsel hearing held on October 20, 2004.

Defendant advises the Court that she is indigent and she intends to file a Section 2255 motion and

needs such transcripts to assist in this filing. Defendant further asks the Court to grant her in

forma pauperis status for purposes of obtaining these transcripts.

       Transcripts are provided to indigent prisoners in proceedings brought under 28 U.S.C. §


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2255, “. . . if the trial judge or circuit judge certifies that the suit or appeal is not frivolous and

that the transcript is needed to decide the issue presented by the suit or appeal.” 28 U.S.C. §

753(f). Thus, prior to requesting a copy of her sentencing transcript or transcript from the

October 20, 2004 hearing, Defendant would first need to present her issues under Section 2255 to

the Court, and then the Court will decide if a transcript is necessary to decide the issues before it.

See United States v. MacCollom, 426 U.S. 317 (1976). Defendant does not need to be granted in

forma pauperis status in order to file a Section 2255 motion or to receive copies of her

transcripts, should the Court determine that such transcripts are needed to decide the issues

presented by Defendant.1

        Defendant is advised, however, that in 1996, Congress passed the Antiterrorism and

Effective Death Penalty Act which amended Section 2255 to add a one-year limitation period. In

relevant part, Section 2255 now provides that “[t]he limitation period shall run from the latest of:

(1) the date on which the judgment of conviction becomes final ; (2) the date on which

impediment to making a motion created by governmental action in violation of the United States

Constitution or the laws of the United States is removed, if the movant was prevented from

making a motion by such governmental action; (3) the date on which the right asserted was

initially recognized by the Supreme Court, if that right has been newly recognized by the Supreme

Court and made retroactively applicable to cases on collateral review; or (4) the date on which the

facts supporting the claim or claims presented could have been discovered through the exercise of

due diligence.” 28 U.S.C. § 2255.


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         Moreover, Defendant was previously determined to be indigent and received court appointed counsel.
(See Order dated October 23, 2003). Therefore, such determination carries over to all proceedings before this
Court and Defendant does not need to submit an additional in forma pauperis application.

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       Defendant is advised that her judgment became final on March 17, 2005, when the Court

entered the Judgment on her sentence. Therefore, in order to maintain a Section 2255 claim,

Defendant has to file a motion by March 17, 2006.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Transcripts is DENIED.

       The Clerk is directed to send copies of this Order to Defendant and the United States

Attorney.




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                    Signed: December 13, 2005




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